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Jeffrey B. Aaronson            Newark, NJ 01702-5497         Jill Lori Brenner
Bell, Boyd & Lloyd                                           Donnelly, Conroy & Gelhaar,
3 First National Plaza                                       LLP
70 West Madison Street,        Steve W. Berman               One Beacon Street
Suite 3200                     Hagens & Berman               33rd Floor
Chicago, IL 60602-4207         1301 5th Avenue               Boston, MA 02108
                               Suite 2900
Daniel F. Attridge             Seattle, WA 98101-1090
Kirkland & Ellis                                             Douglas S. Brooks
Suite 1200                                                   Kelly, Libby & Hoopes, PC
655 Fifteenth St.,N.W.         David J. Bershad              175 Federal Street
Washington, DC 20005           Milberg Weiss Bershad         Boston, MA 02110
                               Hynes & Lerach LLP
                               One Pennsylvania Plaza
Gary L. Azorsky                49th Floor                    Nicole Y. Brumsted
Berger & Montague, PC          New York, NY 10119            Lieff Cabraser Heimann &
1622 Locust Street                                           Bernstein, LLP
Philadelphia, PA 19103                                       175 Federal Street, 7th Floor
                               Aimee E. Bierman              Boston, MA 02110
                               Kirkpatrick & Lockhart, LLP
Anita B. Bapooji               75 State Street
Testa, Hurwitz & Thibeault,    Boston, MA 02109-1808         Michael M. Buchman
LLP                                                          Milbert, Weiss, Bershad,
125 High Street                                              Hynes & Lerach, LLP
Oliver Tower                   Jack B. Blumenfeld            One Pennsylvania Plaza
Boston, MA 02110               Morris, Nichols, Arsht, &     NewYork, NY 10119-0165
                               Tunnell
                               1201 North Market Street
Jason E. Baranski              Wilmington, DE 19899-1347     James C. Burling
Morgan Lewis & Bockius,                                      Wilmer Cutler Pickering
LLP                                                          Hale and Dorr LLP
1701 Market Street             Thomas L. Boeder              60 State Street
Philadelphia, PA 19103-2921    Perkins Coie                  Boston, MA 02109
Assigned: 06/25/2002           1201 Third Avenue, 40th
                               Floor
                               Seattle, WA 98101-3099        David J. Burman
Steven F. Barley                                             Perkins Coie
Hogan & Hartson, LLP                                         1201 Third Avenue, 40th
111 South Calvert Street       Anthony Bolognese             Floor
Baltimore, MD 21202            Bolognese & Associates        Seattle, WA 98101-3099
                               Suite 650
                               One Penn Center
Rebecca Bedwell-Coll           1617 JFK Blvd.                Evan Dean Buxner
Mascone, Emblidge &            Philadelphia, PA 19103        676 North Michigan Avenue
Quadra                                                       Suite 3110
180 Montgomery Street                                        Chicago, IL 60611-0003
San Francisco, CA 94104        James J. Breen
                               Breen Law firm
                               3562 Old Milton Parkway       James P. Carroll, Jr.
Mark A. Berman                 Alpharetta, GA 30005          Kirby Mclnerney & Squire
Gibbons, Del Deo, Dolan,                                     830 3rd Avenue
Griffinger & Vecchione, P.C.                                 10th Floor
One Riverfront Plaza                                         New York, NY 10022
     Case 1:04-cv-10981-PBS Document 37-7 Filed 01/21/05 Page 2 of 5



Tod S. Cashin                 Jeremy P. Cole                Christopher J. Cunio
Buchanan Ingersoll, PC        Jones Day                     Cooley, Manion, & Jones,
700 Alexander Road            Suite 3500                    LLP
Suite 300                     77 West Wacker Drive          21 Custom House Street
Princeton, NJ 08540           Chicago, IL 60601-1692        Boston, MA 02110


Ronald L. Castle              Christopher R. Cook           Joseph Danis
Arent,Fox,                    Jones Day                     The David Danis Law Firm,
Kintner,Plotkin,Plotkin &     51 Louisiana Avenue, N.W.     P.C.
Kahn, LLC                     Washington, DC 20001          8235 Forsyth Blvd.
1050 Conneticut Ave., N.W.                                  Suite 1100
Washington, DC 20036-6188                                   St. Loius, MO 63105
                              Robert C. Cook
                              Jones Day
William F. Cavanaugh, Jr.     51 Louisiana Avenue, NW       William A. Davis
Patterson, Belknap, Webb &    Washington, DC 20001          Mintz, Levin, Cohn, Ferris,
Tyler LLP                                                   Glovsky & Popeo, PC
1133 Avenue of the Americas                                 701 Pennsylvania Avenue,
New York, NY 10036-6710       Michael R. Costa              N.W.
                              Greenberg Traurig, LLP        Suite 200
                              One International Place       Washington, DC 20004
David J. Cerveny              Boston, MA 02110
Proskaver Rose LLP
One Intermational Place                                     Michael DeMarco
14th Floor                    Paul J. Coval                 Kirkpatrick & Lockhart, LLP
Boston, MA 02110              Vorys, Sater, Seymour and     75 State Street
                              Pease, LLP                    Boston, MA 02109
                              52 East Gay Street
Eric P. Christofferson        Columbus, OH 43215
Ropes & Gray, LLP                                           Merle M. Delancey, Jr.
One International Place                                     Dickstein Shapiro Morin &
Boston, MA 02110              William M. Cowan              Oshinsky LLP
                              Mintz, Levin, Cohn, Ferris,   2101 LStreetN.W.
                              Glovsky & Popeo, PC           Washington, DC 20037
Joanne M. Cicala              One Financial Center
Kirby Mclnerncy & Squire      Boston, MA 02111
830 3rd Ave.                                                Jeanne E. Demers
10th Floor                                                  Kirkpatrick & Lockhart, LLP
New York, NY 10022            Florence A Crisp              75 State Street
                              Davis Polk & Wardwell         Boston, MA 02109
                              450 Lexington Avenue
Daniel J. Cloherty            New York, NY 10017
Dwyer & Collora LLP                                         John C. Dodds
600 Atlantice Avenue                                        Morgan Lewis & Boskius,
12th Floor                    Jonathan W. Cuneo             LLP
Boston, MA 02210              Cuneo Law Group               1701 Market Street
                              317 Massachusetts Avenue,     Philadelphia, PA 19103-2921
                              N.E.
Jonathan D Cohen              Washington, DC 20002
Greenberg Traurig, LLP
One International Place
Boston, MA 02110
     Case 1:04-cv-10981-PBS Document 37-7 Filed 01/21/05 Page 3 of 5



Lloyd Donders                Steven M. Edwards               Elizabeth S. Finberg
Kirby Mclnerney & Squire     Hogan & Hartson, LLP            Sonnenschein, Nath &
830 3rd Avenue               875 Third Avenue                Rosenthal, LLP
10th Floor                   Suite 2600                      1301 K Street, NW
New York, NY 10022           New York, NY 10012              East Tower
                                                             Suite 600
                                                             Washington, DC 20005
Alan J. Droste               Robert G. Eisler
Pillsbury Winthrop           Lieff Cabraser Heirnann &
650 Town Center Dr           Bernstein, LLP                  Kathryn C. Finnerty
7th Floor                    780 Third Avenue                58th Floor, US Steel Tower
Costa Mesa, CA 92626-7122    48th Floor                      600 Grant Street
                             New York, NY 10017-2024         Pittsburgh, PA 15219

James J Duffy
Davis Polk & Wardwell        Bruce E. Falby                  Matthew A. Fischer
450 Lexington Ave            Piper Rudnick LLP               Sedgwick, Detert, Moran &
New York, NY 10017           One International Place, 21st   Arnold
                             Floor                           One Embarcadero Center
                             100 Oliver Street               16th Floor
Dennis M. Duggan, Jr.        Boston, MA 02110-2600           San Francisco, CA 94111
Nixon Peabody, LLP
101 Federal Street
Boston, MA 02110             Douglas Farquhar                Michael J. Flannery
                             Hyman, Phelps &                 The David Danis Law Firm,
                             McNamara, P.C.                  P.C.
Kimberly A. Dunne            Suite 1200                      8235 Forsyth Blvd.
Sidley Austin Brown &        700 13th Street, N.W.           Suite 1100
Wood                         Washington, DC 20005            St. Louis, MO 63105-7700
555 West 5th Street
Suite 4000
Los Angeles, CA 90013-1010   Eric B. Fastiff                 Lucy Fowler
                             Leiff, Cabraser, Heimann &      Foley Hoag LLP
                             Bernstein, LLP                  155 Seaport Boulevard
Thomas E. Dwyer, Jr.         Embarcadero Center West         Boston, MA 02210-2600
Dwyer & Collora, LLP         275 Battery Street
Suite 1200                   30th Floor
600 Atlantic Avenue          San Francisco, CA 94111-        Brian V. Frankel
Boston, MA 02210             3339                            Department of Justice
                                                             California Bureau of Med i-
                                                             Cal Fraud and Elder Abuse
Marc H. Edelson              Joseph B.G. Fay                 1455 Frazee Road
Hoffman & Edelson            Morgan Lewis & Bockius,         Suite 315
45 West Court Street         LLP                             San Diego, CA 92108
Doylestown, PA 18901         1701 Market Street
                             Philadelphia, PA 19103-2921
                                                             Todd G. Friedland
Mitchell Edwards                                             Pillsbury Winthrop
Morgan Lewis & Bockius,      Anastasia M. Fernands           650 Town Center Dr
LLP                          Goodwin Procter LLP             7th Floor
1701 Market Street           Exchange Place                  Costa Mesa, CA 92626-7122
Philadelphia, PA 191 03-     53 State Place
2921                         Boston, MA 02109
     Case 1:04-cv-10981-PBS Document 37-7 Filed 01/21/05 Page 4 of 5



Jeffrey S. Friedman           Alison C. Gilbert             Blake M. Harper
Silverman & McDonald          Hogan & Hartson, LLP          Hulett Harper
1010 North Bancroft           875 Third Avenue              550 West C Street
Parkway                       Suite 2600                    Suite 1770
Suite 22                      New York, NY 10012            San Diego, CA 92101
Wilmington, DE 19805

                              Arthur F. Golden              Kimberley D. Harris
Todd S. Garber                Davis Polk & Wardwell         Davis Polk & Wardwell
Lowey Dannenberg              450 Lexington Avenue          450 Lexington Avenue
Bemporad & Selinger, P.C.     New York, NY 10017            New York, NY 10017
The Gateway
One North Lexington Ave
White Plains, NY 10601        David F. Graham               Elizabeth Fegan Hartweg
                              Sidley Austin Brown &         Kenneth A. Wexler &
                              Wood                          Associates
Scott Garland                 Bank One Plaza                1 North La Salle
United States Department of   10 South Dearborn Street      Suite 2000
Justice                       Chicago, IL 60603             Chicago, IL 60602
Suite 600
1301 New York Avenue
Washington, DC 20530          Karen F. Green                Reed Elliott Harvey
                              Wilmer Cutler Pickering       Pillsbury Winthrop
                              Hale and Dorr LLP             650 Town Center Dr
Martin F. Gaynor, III         60 State Street               7th Floor
Cooley, Manion, Jones LLP     Boston, MA 02109              Costa Mesa, CA 92626-7122
21 Custom House
Boston, MA 02110
                              Gary R. Greenberg             Kirke M. Hasson
                              Greenberg Traurig, LLP        Pillsbury Winthrop LLP
Peter E. Gelhaar              One International Place       50 Freemont Street
Donnelly, Conroy & Gelhaar,   Third Floor                   P.O. Box 7880
LLP                           Boston, MA 02110              San Francisco, CA 94120
One Beacon Street
33rd Floor
Boston, MA 02108              Daniel E. Gustafson           Joseph Ernest Haviland
                              Hems Mills & Olson, P.L.C.    Dwyer & Collora, LLP
                              3550 IDS Center               Federal Reserve Building
Evan Georgopoulos             80 South Eighth Street        600 Atlantic Avenue
Greenberg Traurig, LLP        Minneapolis, MN 55402         12th Fl.
One International Place                                     Boston, MA 02210
Boston, MA 02110
                              Erik Haas
                              Patterson, Belknap, Webb &    James Vincent Hayes
David C. Giardina             Tyler LLP                     Williams & Connolly, LLP
Sidley Austin Brown &         1133 Avenue of the Americas   725 Twelfth Street N.W.
Wood                          New York, NY 10036-6710       Washington, DC 20005
Bank One Plaza
10 South Dearborn Street      Sonnenschein, Nath &
Chicago, IL 60603             Rosenthal, LLP
                              Suite 600, East Tower
                              1301 K Street NW
                              Washington, DC 20005
     Case 1:04-cv-10981-PBS Document 37-7 Filed 01/21/05 Page 5 of 5



George B. Henderson            James P. Rouhandeh
United States Attorneys        Davis, Polk & Wardwell
Office                         450 Lexington Avenue
1 Courthouse Way               New York, New York
Suite 9200                     10017
Boston, MA 02210


Colleen M. Hennessey
Peabody & Arnold LLP
30 Rowes Wharf
Boston, MA 02110


Mary Ellen Hennessy
Katten Muchin & Zavis
525 W. Monroe, Suite 1600
Chicago, IL 60661-3693


Frederick G. Herold
Dechert LLP
4000 Bell Atlantic Tower
1717 Arch Street
Philadelphia, PA 19103-2793


Nicola R. Heskett
Shook, Hardy & Bacon LLP
2555 Grand Blvd
Kansas City, MO 64108


Robert J. Higgins
Dickstein, Shapiro & Morin
2101 L Street, N.W.
Washington, DC 20037


Aaron D. Hovan
Kirby Mclnerney & Squire
LLP
830 3rd Avenue
10th Floor
New York, NY 10022

Joel T. Galanter
Stokes Bartholomew Evans
& Petree, P.A.
424 Church Street, Suite2800
Nashville, TN 37219
